
KHOUZAM, Judge.
The State appeals a disposition order in which adjudication was withheld for a delinquent act that was committed by K.R.G. on December 7, 2007. The State correctly asserts that the disposition was illegal because the juvenile court refused to comply with the statutory requirements concerning the revocation of K.R.G.’s driver’s license. See State v. S.S., 8 So.3d 425 (Fla. 2d DCA 2009). The juvenile court did not have discretion to forego the dictates of section 322.056(l)(a)(l), Florida Statutes (2007), which required it to direct the Department of Highway Safety and Motor Vehicles to revoke or to withhold issuance of KR.G.’s driver’s license or driving privilege for a period of “[n]ot less than 6 months and not more than 1 year” on her first-time violation of chapter 893. In S.S., as in this case, the juvenile committed the delinquent act of marijuana possession in violation of the 2007 statutes, and the juvenile court withheld adjudication, placed the juvenile on probation, and declined to comply with the mandatory provisions of section 322.056(l)(a)(l). As in S.S., the court was required to comply with the statute. Accordingly, we reverse the disposition or*1270der and remand the matter to the juvenile court for the entry of an order directed to the Department as required by section 322.056(l)(a)(l).
Reversed and remanded.
LaROSE and CRENSHAW, JJ., Concur.
